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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

PINPOINT INCORPORATED,
                                                       No. 1:11-CV-05597
               Plaintiff,

V.                                                     District Judge John F. Grady
                                                       Mag. Judge Denlow
HOTWIRE, INC.,

               Defendant.

                   HOT WIRE, INC.'S ANSWER AND AFFIRMATIVE
                  DEFENSES TO PINPOINT'S AMENDED COMPLAINT

        Defendant Hotwire, Inc. ("Hotwire") hereby answers the allegations in Plaintiff Pinpoint

Incorporated's ("Pinpoint's") Amended Complaint for Patent Infringement ("Amended

Complaint") as follows:

                                   NATURE OF THE CASE

        1.     This is a claim for patent infringement that arises under the patent laws of the

United States, Title 35 of the United States Code. This Court has original jurisdiction over the

subject matter of this claim under 28 U.S.C. § 1331 and 1338(a).

        ANSWER:        Paragraph 1 purports to be a description of the nature of this action and, as

 such, no response is required. Hotwire admits that this Court has original jurisdiction over the

 subject matter of this claim under 28 U.S.C. § 1331 and 1338(a). To the extent Paragraph 1 is

 intended to convey any factual allegations, Hotwire denies all such allegations.
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                                          THE PARTIES

        2.        Pinpoint Incorporated ("Pinpoint") is a Texas corporation with headquarters at

203 North Wabash Avenue, Suite 1610, Chicago, Illinois 60601. Pinpoint moved its

headquarters to Chicago on January 1, 2011.

        ANSWER:          Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 2.

        3.        Pinpoint owns and has standing to sue for infringement of United States Patent

No. 5,754,938 ("the '938 patent"), entitled "Pseudonymous Server for System for Customized

Electronic Identification of Desirable Objects," which issued on May 19, 1998.

        ANSWER:          Hotwire admits that United States Patent No. 5,754,938 ("the '938

patent") is titled "Pseudonymous Server for System for Customized Electronic Identification of

Desirable Objects" and bears the issuance date of May 19, 1998. Hotwire is without knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

3.

        4.        Pinpoint owns and has standing to sue for infringement of United States Patent

No. 7,853,600 B2 ("the '600 patent"), entitled "System and Method for Providing Access to

Video Programs and Other Data Using Customer Profiles," which issued on December 14, 2010.

        ANSWER:          Hotwire admits that United States Patent No. 7,853,600 B2 ("the '600

patent") is titled "System and Method for Providing Access to Video Programs and Other Data

Using Customer Profiles" and bears the issuance date of December 14, 2010. Hotwire is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 4.
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       5.      Pinpoint owns and has standing to sue for infringement of United States Patent

No. 8,056,100 ("the '100 patent"), entitled "System And Method For Providing Access To Data

Using Customer Profiles," which issued on November 8, 2011.

       ANSWER:         Hotwire admits that United States Patent No. 8,056,100 B2 ("the '100

patent") is titled "System and Method for Providing Access to Data Using Customer Profiles"

and bears the issuance date of November 8, 2011. 1-lotwire is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 5.

       6.      Pinpoint, originally known as Herz Technologies, is the owner of all right, title

and interest in the patent portfolio of the inventor Frederick Herz and his company iReactor. Fred

Herz is a named inventor on nearly fifty U.S. and foreign patents and patent applications,

including the '938, '600, and '100 patents. Mr. Herz is a pioneer in the field of content

personalization and assembled a team of world-renowned computer scientists from the

University of Pennsylvania to develop prototype software for his company iReactor. The

technology covered by Mr. Herz' inventions anticipated personalization via the Internet, mobile

content delivery, electronic billboards and retail kiosks.

       ANSWER:         Hotwire admits that each of the '938 patent, the '600 patent, and the '100

patent lists Frederick Herz as one inventor.       Hotwire is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 6.

       7.      Groupon, Inc. ("Groupon") is a Delaware corporation with headquarters at 600

West Chicago Avenue, Chicago, Illinois, 60654. Groupon is registered to do business in the State

of Illinois as Groupon, Inc.
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        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 7.

        8.      Hotwire, Inc. ("Hotwire") is a Delaware corporation with headquarters at 333

Market Street, Suite 100, San Francisco, California, 94105. Hotwire is registered to do business

in the State of Illinois as Hotwire, Inc. or the assumed name Hotwire Illinois, Inc.

        ANSWER:        Hotwire admits that it is a Delaware corporation with headquarters at 333

Market Street, Suite 100, San Francisco, California 94105 and that it is registered to do business

in Illinois. Hotwire denies any other allegations in Paragraph 8.

        9.      L.L. Bean, Inc. ("L.L. Bean") is a Maine corporation with headquarters at 15

Casco Street, Freeport, Maine, 04033. L.L. Bean is registered to do business in the State of

Illinois as L.L. Bean, Inc. or the assumed name L.L. Bean.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 9.

        10.     Orbitz, LLC ("Orbitz") is a Delaware corporation with headquarters at 500 West

Madison Street, Suite 1000, Chicago, Illinois, 60606. Orbitz is registered to business in the State

of Illinois as Orbitz, LLC.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 10.

                                 JURISDICTION AND VENUE

        11.     Groupon owns, operates and/or and conducts business through the website

www.groupon.com. Groupon is doing business in this judicial district, has purposefully availed

itself of the privilege of conducting business with residents of this judicial district, has


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established sufficient minimum contacts with the State of Illinois such that it should reasonably

and fairly anticipate being haled into court in Illinois, and has purposefully reached out to

residents of Illinois.

        ANSWER:          Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 11.

        12.     Hotwire owns, operates and/or and conducts business through the website

www.hotwire.com. Hotwire is doing business in this judicial district, has purposefully availed

itself of the privilege of conducting business with residents of this judicial district, has

established sufficient minimum contacts with the State of Illinois such that it should reasonably

and fairly anticipate being haled into court in Illinois, and has purposefully reached out to

residents of Illinois.

        ANSWER:          Hotwire   admits   that       it   owns   and   conducts   business   through

www.hotwire.com and that it is doing business in this judicial district.            The remainder of

Paragraph 12 contains conclusions of law to which no response is required.

        13.     L.L. Bean owns, operates and/or and conducts business through the website

www.11bean.com and through retail stores in this judicial district. L.L. Bean is doing business in

this judicial district, has purposefully availed itself of the privilege of conducting business with

residents of this judicial district, has established sufficient minimum contacts with the State of

Illinois such that it should reasonably and fairly anticipate being haled into court in Illinois, and

has purposefully reached out to residents of Illinois.

        ANSWER:          Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 13.


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            14.   Orbitz owns, operates andlor and conducts business through the website

www.orbitz.com. Orbitz is doing business in this judicial district, has purposefully availed itself

of the privilege of conducting business with residents of this judicial district, has established

sufficient minimum contacts with the State of Illinois such that it should reasonably and fairly

anticipate being haled into court in Illinois, and has purposefully reached out to residents of

Illinois.

            ANSWER:      Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 14.

            15.   Venue is proper in this district under 28 U.S.C. § 1391(b)-(d) and 1400(b).

            ANSWER:      Paragraph 15 contains conclusions of law to which no response is
required.

                            CLAIMS FOR PATENT INFRINGEMENT

                  COUNT I. - INFRINGEMENT OF U.S. PATENT NO. 5,754,938

                                             GROUPON

            16.   Groupon owns and operates the website www.groupon.com and related URLs.

        ANSWER:          Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 16.

            17.   Groupon uses at least one proxy server in connection with its www.groupon.com

website.

        ANSWER:          Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 17.

            18.   Groupon provides accounts for its customers using their email and password.
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        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 18.

        19.     Groupon creates profiles for its customers including, among other things, what

Groupon calls "My Background" and "My Favorite Deals."

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 19.

        20.     Groupon uses information it collects on individual customers to provide deals that

suit those individual customers.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 20.

        21.     Groupon sends emails to its customers including deals Groupon selects for those

specific customers.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 21.

        22.    Groupon has infringed and continues to infringe at least claim 1 of the '938 patent

within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including, without

limitation, by operating the website www.groupon.com which includes features for creating

customer profiles and emailing Groupon-selected deals to specific customers.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 22.

                                            HOT WIRE

        23.    Hotwire owns and operates the website www.hotwire.com and related URLs.


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       ANSWER:         Hotwire admits that it owns and operates the website www.hotwire.com.

Hotwire is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 23.

       24.     Hotwire uses at least one proxy server in connection with its www.hotwire.com

website.

       ANSWER:         Hotwire denies it uses a "proxy server," as that term is used in the asserted

patents, in connection with www.hotwire.com.

       25.     Hotwire provides accounts for its customers using their email and password.

       ANSWER:         Hotwire admits that users of www.hotwire.com may register for an

account by providing information, including an email address and password.

       26.     Hotwire creates profiles for its customers including, among other things,

customers' travel searches and whether customers have affirmatively clicked on a link sent to

them in an email by Hotwire.

       ANSWER:        Hotwire denies the allegations in Paragraph 26.

       27.     Hotwire uses information it collects on individual customers to provide offers that

suit those individual customers.

       ANSWER:        Hotwire denies the allegations in Paragraph 27.

       28.     Hotwire sends emails to its customers including offers Hotwire selects for those

specific customers.

       ANSWER:        Hotwire denies the allegations in Paragraph 28.

       29.     Hotwire has infringed and continues to infringe at least claim 1 of the '938 patent

within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including, without


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limitation, by operating the website www.hotwire.com which includes features for creating

customer profiles and emailing Hotwire-selected offers to specific customers.

        ANSWER:        Hotwire denies the allegations in Paragraph 29.

                                             L.L. BEAN

        30.    L.L. Bean owns and operates the website www.11bean.com and related URLs.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 30.

        31.    L.L. Bean uses at least one proxy server in connection with its www.11bean.com

website.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 31.

        32.    L.L. Bean provides accounts for its customers using a Login ID (such as a User

Name or Email Address) and password.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 32.

        33.    L.L. Bean creates profiles for its customers including, among other things, what

L.L. Bean calls "Email Preferences" including "Additional Information" such as "Areas of

Interest" and "Preferred Store Locations."

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 33.

        34.    L.L. Bean uses information it collects on individual customers to notify customers

of products, special offers, services or events that suit those individual customers.
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       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 34.

       35.     L.L. Bean sends emails to its customers notifying them of products, special offers,

services or events L.L. Bean selects for those specific customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 35.

       36.     L.L. Bean has infringed and continues to infringe at least claim 1 of the '938

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.11bean.com which includes features for

creating customer profiles and emailing L.L. Bean-selected notifications for products, special

offers, services or events to specific customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 36.

                                              ORBITZ

       37.     Orbitz owns and operates the website www.orbitz.com and related URLs.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 37.

       38.     Orbitz uses at least one proxy server in connection with its www.orbitz.com

website.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 38.

       39.     Orbitz provides accounts for its customers using their email and password.


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        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 39.

        40.    Orbitz creates profiles for its customers including, among other things, what

Orbitz calls "My interests," which includes "Activities & Lifestyles" such as "Beach" and

"Casinos/Gaming", and which further includes "Destinations" such as "Asia" or "Caribbean."

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 40.

        41.    Orbitz uses information it collects on individual customers to provide e-

newsletters and personalized offers that suit those individual customers.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 41.

        42.    Orbitz sends emails to its customers including e-newsletters and personalized

offers Orbitz selects for those specific customers.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 42.

        43.    Orbitz has infringed and continues to infringe at least claim 1 of the '938 patent

within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including, without

limitation, by operating the website www.orbitz.com which includes features for creating

customer profiles and emailing Orbitz-selected e-newsletters and personalized offers to specific

customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 43.


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                                       ALL DEFENDANTS

        44.    To the extent required by law, Pinpoint has complied with the provisions of 35

U.S.C. § 287 with respect to the '938 patent.

        ANSWER:        Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 44.

        45.    The acts of direct infringement of the '938 patent by all Defendants by
manufacturing, using, operating and/or conducting business through their respective websites has

injured Pinpoint, and Pinpoint is entitled to recover damages adequate to compensate it for such

infringement from Defendants, but in no event less than a reasonable royalty.

        ANSWER:        Hotwire denies the allegations in Paragraph 45.

              COUNT 11-INFRINGEMENT OF U.S. PATENT NO. 7,853,600 B2

                                            GROUPON

        46.    Pinpoint repeats and realleges paragraphs 16 - 21 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

        ANSWER:        Hotwire repeats its responses to paragraphs 16 - 21 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

       47.     Groupon has infringed and continues to infringe at least claim 29 of the '600

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.groupon.com which includes features for

creating customer profiles and emailing Groupon-selected deals to specific customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 47.


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                                            HOT WIRE

       48.     Pinpoint repeats and realleges paragraphs 23 - 28 of this Complaint, inclusive, as

though fuiiy set forth herein and incorporates them by reference.

       ANSWER:         Hotwire repeats its responses to paragraphs 23 - 28 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

       49.     Hotwire has infringed and continues to infringe at least claim 29 of the '600

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.hotwire.com which includes features for

creating customer profiles and emailing Hotwire-selected offers to specific customers.

       ANSWER:         Hotwire denies the allegations in Paragraph 49.

                                            L.L. BEAN

        50.    Pinpoint repeats and realleges paragraphs 30 - 35 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

       ANSWER:         Hotwire repeats its responses to paragraphs 30 - 35 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

        51.    .L. Bean has infringed and continues to infringe at least claim 29 of the '600

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.11bean.com which includes features for

creating customer profiles and emailing L.L. Bean-selected notifications for products, special

offers, services or events to specific customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 51.


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                                              ORBITZ

        52.    Pinpoint repeats and realleges paragraphs 37 - 42 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

       ANSWER:         Hotwire repeats its responses to paragraphs 37 - 42 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

        53.    Orbitz has infringed and continues to infringe at least claim 29 of the '600 patent

within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including, without

limitation, by operating the website www.orbitz.com which includes features for creating

customer profiles and emailing Orbitz-selected e-newsletters and personalized offers to specific

customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 53.

                                       ALL DEFENDANTS

        54.    To the extent required by law, Pinpoint has complied with the provisions of 35

U.S.C. § 287 with respect to the '600 patent.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 54.

        55.    The acts of direct infringement of the '600 patent by all Defendants by
manufacturing, using, operating and/or conducting business through their respective websites has

injured Pinpoint, and Pinpoint is entitled to recover damages adequate to compensate it for such

infringement from Defendants, but in no event less than a reasonable royalty.

       ANSWER:         Hotwire denies the allegations in Paragraph 55.


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              COUNT III - INFRINGEMENT OF U.S. PATENT NO. 8O56,1OO

                                            GROUPON

        56.    Pinpoint repeats and realleges paragraphs 16 - 21 of this Complaint, inclusive, as

though fuiiy set forth herein and incorporates them by reference.

       ANSWER:         flotwire repeats its responses to paragraphs 16-21 of this Answer,

inclusive, as though fuiiy set forth herein and incorporates them by reference.

        57.    Groupon has infringed and continues to infringe at least claim 36 of the '100

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.groupon.com which includes features for

creating customer profiles and emailing Groupon-selected deals to specific customers

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 57.

                                            HOT WIRE

       58.     Pinpoint repeats and realleges paragraphs 23 - 28 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

       ANSWER:         Hotwire repeats its responses to paragraphs 23 - 28 of this Answer,

inclusive, as though fuily set forth herein and incorporates them by reference.

       59.     Hotwire has infringed and continues to infringe at least claim 36 of the '100

patent within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including,

without limitation, by operating the website www.hotwire.com which includes features for

creating customer profiles and emailing Hotwire-selected offers to specific customers.

       ANSWER:         Hotwire denies the allegations in Paragraph 59.


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                                             L.L. BEAN

        60.    Pinpoint repeats and realleges paragraphs 30 - 35 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

        ANSWER:        Hotwire repeats its responses to paragraphs 30 - 35 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

        61.    L.L. Bean has infringed and continues to infringe at least claim 36 of the '100

patent within the meaning of 35 U.S.C. § 271(a) through the foregoing activities including,

without limitation, by operating the website www.11bean.com which includes features for

creating customer profiles and emailing L.L. Bean-selected notifications for products, special

offers, services or events to specific customers.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 61.

                                              ORBITZ

        62.    Pinpoint repeats and realleges paragraphs 37 - 42 of this Complaint, inclusive, as

though fully set forth herein and incorporates them by reference.

       ANSWER:         Hotwire repeats its responses to paragraphs 37 - 42 of this Answer,

inclusive, as though fully set forth herein and incorporates them by reference.

        63.    Orbitz has infringed and continues to infringe at least claim 36 of the '100 patent

within the meaning of 35 U.S.C. § 27 1(a) through the foregoing activities including, without

limitation, by operating the website www.orbitz.com which includes features for creating

customer profiles and emailing Orbitz-selected e-newsletters and personalized offers to specific

customers.


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       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 63.

                                       ALL DEFENDANTS

        64.    To the extent required by law, Pinpoint has complied with the provisions of 35

U.S.C. § 287 with respect to the '100 patent.

       ANSWER:         Hotwire is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 64.

        65.    The acts of direct infringement of the '100 patent by all Defendants by
manufacturing, using, operating and/or conducting business through their respective websites has

injured Pinpoint, and Pinpoint is entitled to recover damages adequate to compensate it for such

infringement from Defendants, but in no event less than a reasonable royalty.

        ANSWER:        Hotwire denies the allegations in Paragraph 65.

                                       GENERAL DENIAL

        Hotwire denies each and every averment in Plaintiff's Amended Complaint not

specifically admitted herein.

        WHEREFORE, Hotwire denies that Pinpoint is entitled to any of the relief sought in

Pinpoint's Amended Complaint.



       Hotwire alleges and asserts the following defenses, undertaking the burden of proof only

when necessary by law, regardless of how such defenses are denominated herein:

        1.     The Amended Complaint fails to state a claim upon which relief can be granted.




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        2.     Hotwire is not infringing and has not infringed any valid and enforceable claim of

the '938 patent, the '600 patent, or the '100 patent, either directly, indirectly, literally, or under

the doctrine of equivalents.

        3.     Each claim of the '938 patent, '600 patent, and '100 patent is invalid under 35

U.S.C. §100 Ct seq., including § 101, 102, 103, and 112.

        4.     By reason of the prosecution before the United States Patent and Trademark

Office leading to, concurrently with, andlor following the issuance of the '938 patent, the '600

patent, and the '100 patent, and by reason of statements and admissions made by or on behalf of

their applicants, Pinpoint is estopped from claiming infringement by Hotwire of one or more

claims of the patents.

        5.     Pinpoint's claims are barred in whole or in part by the doctrine of prosecution

history estoppel because the amendments and arguments made during the prosecution limit the

scope of the claims of the '938 patent, the '600 patent, and the '100 patent, and bar Pinpoint's

allegations of infringement, whether literally or under the doctrine of equivalents.

        6.     Pinpoint's claims are barred in whole or in part by the doctrine of collateral

estoppel because rulings made during other litigations limit the scope, interpretations and

enforceability of the claims of the '938 patent, the '600 patent, and the '100 patent, and bar

Pinpoint's allegations of infringement, whether literally or under the doctrine of equivalents.

        7.     Pinpoint's claims are barred, in whole or in part, under the doctrines of laches

because of Pinpoint's unreasonable delay in asserting the patents-in-suit materially prejudiced

Hotwire.




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       8.      The relief sought by Pinpoint is barred, in whole or in part, under the doctrine of

equitable estoppel because Pinpoint's unreasonable delay in filing suit misled Hotwire to believe

Pinpoint did not intend to enforce the patents-in-suit against it; Hotwire relied on such

misleading conduct; and Hotwire would be materially prejudiced if Pinpoint were permitted to

proceed with its alleged claims of infringement against the Hotwire.

       9.      Pinpoint is not entitled to relief under 35 U.S.C. § 284.

       10.     Pinpoint is not entitled to relief under 35 U.S.C. § 285.

       11.     Pinpoint's claims for damages are barred, in whole or in part, under 35 U.S.C. §

286 (six year limitation) and 35 U.S.C. § 287 (marking).

                                              Respectfully submitted,


Dated: May 1, 2013                            By: Is/Ka1K Shah

                                              Kal K. Shah (6275895)
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                               CERTIFICATE OF SERVICE

       I   hereby certify that on May       1,    2013 HOTWIRE, iNC.'S ANSWER AND
AFFIRMATIVE DEFENSES was filed electronically with the clerk pursuant to the Court's

CM/ECF procedures. All parties in this case are represented by an E-Filer and have consented to

service by electronic means.


                                            /s/Kal K Shah




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